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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA

 CHARLES ARMSTRONG and
 PEEWEE CRAB CAKES ON THE
 GO LLC                                        CIVIL ACTION NO.

              Plaintiff,                       JUDGE

 Versus                                        MAGISTRATE

 ANEKA ARMSTRONG and HOUSE
 OF MEOW BOUTIQUE, LLC

             Defendants


       ORIGINAL COMPLAINT AND DEMAND FOR TRIAL BY JURY

      PEEWEE       CRAB      CAKES      ON     THE    GO    LLC     and    CHARLES

ARMSTRONG (“Plaintiffs”), through undersigned counsel, allege the following in

support of their Complaint against Defendants, ANEKA ARMSTRONG and

HOUSE OF MEOW, LLC (“Defendants”), for trademark infringement, unfair

competition, false designation of origin, breach of contract, cancellation of trademark

registration, civil fraud, breach of fiduciary duty and cybersquatting.

                                      PARTIES

      1.     Plaintiff, Peewee Crab Cakes On The Go LLC, is a Louisiana Limited

Liability Company, with its principal place of business at 2908 Martin Luther King,

Jr. Blvd., New Orleans, Louisiana.

      2.     Plaintiff, Charles Armstrong, is a resident of Kenner, Louisiana.

      3.     Upon information and belief, Defendant, Aneka Armstrong is a resident


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of the State of Texas.

      4.     Upon information and belief, Defendant, House of Meow Boutique LLC,

is a Texas limited liability company with its principal place of business in Hewitt, TX.

                          JURISDICTION AND VENUE

      5.     This is an action for trademark infringement, unfair competition, false

designation of origin, and cancellation of a U.S. trademark registration; therefore,

this Court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

§1121 and 28 U.S.C. §1338(a) and (b). This Court has supplemental jurisdiction

pursuant to 28 U.S.C. §1367(a) with respect to the state law claims asserted herewith.

      6.     This Court has personal jurisdiction over Defendants because they are

transacting business in this State and have caused harm or tortious injury in this

State by acts within this State. Upon information and belief, Defendants are

currently advertising, offering, and providing services under an infringing mark

within the Eastern District of Louisiana and made false representations to the

Louisiana Secretary of State in a business filing.

      7.     Venue in this District is proper under 28 U.S.C. §1391(b)-(d). A

substantial part of the acts complained of herein is occurring or has occurred in this

District.

                            FACTUAL BACKGROUND

                                Plaintiffs’ Business

      8.     Plaintiff, Charles “PeeWee” Armstrong (“Charles”), is the manager and

sole member of Plaintiff Peewee Crab Cakes On The Go LLC (“The LLC”) which he

formed on December 27, 2018.

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      9.      Charles’ nickname has been “Peewee” since he was a small child, and

most of his peers and customers know him more as “Peewee” than Charles.

      10.     Charles began his culinary career working as a fry cook at Copeland’s

Cheesecake Bistro in the early 2000s and quickly advanced to a supervisory position

training franchise employees. When Hurricane Katrina devastated the New Orleans

area, he relocated to Baton Rouge where continued training franchise employees for

Copeland’s.

      11.     In 2007, Charles became the executive chef for Catch 22 Seafood Market

and Grill in Dallas, Texas until 2016 when he returned to New Orleans to work as a

sous chef in a local restaurant.

      12.     Around June 2018, Charles left the restaurant and established a

catering/food delivery business offering crabcakes, gumbo and similar seafood under

the trademark and trade name “PEEWEE’S CRAB CAKES ON THE GO (“The

Trademark”).” His featured and most popular item was crabcakes, which was

prepared using a secret, proprietary recipe that he developed.

      13.     Shortly after Charles launched the catering business, its popularity and

public demand for his proprietary crabcakes soared. Therefore, around September or

October 2018, he moved into On Faith Donut Shop located at 2908 Martin Luther

King Jr. Blvd., New Orleans, LA 70113, where he operated a seafood takeout business

under the “PEEWEE’S CRAB CAKES ON-THE-GO” trademark.

      14.     While operating out of the donut shop, he simultaneously operated a

weekend popup restaurant under the “PEEWEE’S CRAB CAKES ON THE GO”

trademark at the CBD Social Club in New Orleans, Louisiana.

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      15.     Near the end of 2018, Charles wanted to expand his business to include

a dine-in option in addition to his takeout business and opened a fulltime restaurant

in the CBD.

      16.     Around June 2019, after discovering that On Faith Donut Shop had

ceased operating, Charles moved PEEWEE’S CRAB CAKES ON THE GO from the

CBD back to On Faith Donut Shop’s former location at 2908 Martin Luther King

Blvd. where he continues to operate today.

      17.     On or around August 2020, Charles opened a second, dine-in location at

4500 Old Gentilly Road in New Orleans operating under the nearly identical

trademark variant PEEWEE’S CRAB CAKES.

      18.     Additionally, Charles also began operating food trucks in 2021 that

appear at various festivals and other public events in Texas, Alabama, Georgia, and

other areas that offer seafood under the PEEWEE’S CRAB CAKES ON THE GO

trademark.

      19.     On or around December 2022, yet another location of PEEWEE’S CRAB

CAKES ON THE GO was opened in Garland, Texas.

      20.     In addition to the word marks, Charles also uses a crab logo in

advertisements for his business, as follows:




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(hereinafter, the “Peewee Logo”)

      21.    Charles also created a signature style for his restaurants, and all of his

restaurants use these same overall distinctive trade dress designs. This includes a

distinctive color scheme, red-and-blue wave design, font style, design arrangement,

interior paint and designs, and menu appearance. Through use and advertising of

Plaintiffs’ distinctive trade dress designs, Plaintiffs’ restaurants have become

immediately recognizable to the public. The following is a photograph evidencing the

distinctive trade dress of Plaintiffs’ restaurants:




(hereinafter, the “Peewee Trade Dress”).

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      22.       Consequently, and at all relevant times, Charles has been the exclusive

owner of the “PEEWEE’S CRAB CAKES” trademark, the “PEEWEE’S CRAB CAKES

ON THE GO” trademark, the Peewee Logo, and the Peewee Trade Dress (hereinafter,

collectively, The “Peewee Trademarks”). Charles licenses the Peewee Trademarks to

his business.

      23.       As a result of the foregoing continuous and exclusive use of the Peewee

Trademarks, and similar variants, Plaintiffs have acquired common law trademark

rights to the Peewee Trademarks dating back at least as early as June 2018.

      24.       As a result of the continuous, substantial, and exclusive use of the

Peewee Trademarks, consumers readily associate the Peewee Trademarks with

Charles Armstrong and his businesses.

      25.       On September 14, 2022, Plaintiffs registered the Peewee Logo with the

Louisiana Secretary of State, which bears Charter number 43297310K.

                                  Defendants’ Actions

      26.       Due to the rapid growth of his seafood business, Charles decided to form

the LLC in late 2018. He asked his sister, Defendant Aneka Armstrong, to assist with

filing the appropriate formation documents with the Louisiana Secretary of State. He

sought Aneka’s assistance because he believed she had previous experience with

forming other entities in Louisiana.

      27.       When Charles went to a local bank to establish a business account for

the LLC, he first discovered that Aneka, without authorization, and unbeknownst to

Charles, had surreptitiously added herself as a managing member and a registered

agent of Peewee Crab Cakes On The Go LLC when she filed the original LLC

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formation documents.

      28.    Aneka unilaterally included herself as a member of the LLC even though

she was residing in Texas and was never involved in the operation of any of Plaintiffs’

food businesses or the creation of his recipes, nor did she contribute any capital or

otherwise help finance the establishment or operation of the businesses. Charles

immediately filed the required documentation with the Louisiana Secretary of State

to have Aneka removed as a member, manager, and registered agent of the LLC.

Aneka’s surreptitious inclusion of herself as a manager, member and registered agent

was a breach of her fiduciary duty as Plaintiffs’ limited agent to form The LLC on

Charles’ behalf.

      29.    Aneka apologized at the time and claimed that her actions had been

inadvertent. Consequently, the two reconciled.

      30.    Sometime in early 2021, Charles began negotiating with Aneka to open

a Peewee’s franchise in or around Waco, TX that would do business as Peewee’s Crab

Cakes and Daiquiris. Charles presented a franchise agreement to Aneka that

required a franchise fee of $20,000 and a royalty of 20% of all gross retail sales

generated by the franchise.

      31.    In furtherance of the franchise arrangement, Aneka located a building

in which the business would operate, but the landlord insisted that Charles cosign

the lease since he is the “face of” the Peewee’s franchise. Based on Aneka’s

representations that she would enter into a franchise agreement with Charles,

Charles in fact cosigned the lease and advanced all requisite deposits totaling

$15,000.

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      32.    Thereafter, the landlord withdrew the offer to lease the building, but

offered an alternative location that would house the proposed franchise. Because the

alternative building required substantial renovations to accommodate a restaurant,

and, again, based on Aneka’s representations that she would enter into a franchise

agreement with Charles, Charles gave Aneka an additional $30,000 to finance the

needed renovations.

      33.    Around the same time the alternative location was being renovated,

and in furtherance of her oral agreement to operate a Peewee’s franchise, Charles

invited Aneka to live with him in Kenner, Louisiana for three months to train in his

kitchen. Aneka had never been a chef, had never worked for Peewee’s or in any other

kitchen, and had no experience in the food business whatsoever, so adequate training

was paramount to her operating a Peewee’s franchise.

      34.    After Aneka finished her Peewee’s franchise training, she returned to

Texas, but never signed the franchise agreement and discontinued any further

contact.

      35.    Charles subsequently learned that Aneka and/or Defendant House of

Meow Boutique LLC was operating a competing business under the identical

trademark “PEEWEE’S CRAB CAKES ON-THE-GO” in Hewitt, TX.

      36.    Plaintiffs further discovered that on February 10, 2022, Aneka filed

trademark application no. 97262326 with the United States Patent & Trademark

Office (“USPTO”) for “PEEWEE’S CRABCAKES ON-THE-GO,” which has been

published for opposition and will register as a trademark shortly.

      37.    Plaintiffs also discovered that on or around March 12, 2021, Defendant

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House of Meow had filed an Assumed Name Certificate with the Texas Secretary of

State asserting that House of Meow was operating, or intending to operate, under the

assumed name “Peewees Crab Cakes on the Go.”

      38.    Defendants’ infringing conduct was shocking in its thoroughness.

Defendants unabashedly adopted the entirety of the Peewee Trademarks, including

all trademarks, logos, and trade dress. Defendants’ even copied Plaintiffs’ menu and

its designs, nearly verbatim.

      39.    Below is a photograph of Defendants’ restaurant evidencing the

infringing use of the Peewee Trademarks, including Plaintiffs’ distinctive color

scheme, red and blue wave design, font style, and design arrangement:




      40.    Additionally, Defendants include “#3” on their signage in an attempt to

deceive consumers into believing that Defendants’ restaurant is the third restaurant

in the chain and is therefore associated with Plaintiffs’ restaurants.

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      41.    Further,     Defendants     also    registered    the    domain   name

www.peeweescrabcakesoftexas.com (the “Infringing Website”) with the bad faith

intent to profit from the Peewee Trademarks.

      42.    Upon information and belief, Defendants jointly operate and control the

Infringing Website, and the website uses the Peewee Trademarks throughout.

      43.    When confronted about her unauthorized use of Plaintiffs’ trademark

and trade name, Aneka vindictively posted a letter on her personal Facebook account

from the Internal Revenue Service addressed to Plaintiff, Peewee Crab Cakes On The

Go LLC, that disclosed The LLC’s confidential tax information, including its tax

identification number. The posting of confidential information such as a tax

identification number in a public forum was likewise a breach of her fiduciary duty

as Plaintiffs’ former agent.

                               CLAIMS FOR RELIEF

  COUNT I – LAW TRADEMARK INFRINGEMENT & UNFAIR COMPETITION
                        15 U.S.C. § 1125(a)

      44.    Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

      45.    Defendants’ use of the Peewee Trademarks is likely to cause confusion,

deception, and mistake by creating the false and misleading impression that

Defendants’ restaurant services and food are being offered by, affiliated with, or

otherwise associated with Plaintiffs’ services. Such conduct constitutes unfair trade

practices and unfair competition pursuant to 15 U.S.C. §1125(a) thereby subjecting

Defendants to damages.


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      46.    Defendants’ acts constitute common law trademark infringement and

unfair competition and have created, and will continue to create a likelihood of

confusion, unless restrained by this Court.

      47.    The threat of the loss of Plaintiffs’ right to control the use of their marks

and the reputation of their goods and services is real and substantial. This loss is

further enhanced by the inferior quality of Defendants’ products and services.

      48.    Defendants’ acts described herein infringe Plaintiffs’ marks, injure

Plaintiffs’ business, reputation, and goodwill, and unless restrained and enjoined will

continue to do so, all to Plaintiffs’ monetary damage and irreparable harm.

      49.    Plaintiffs are entitled to damages equal to Defendants’ profits, damages

sustained by Plaintiffs, and costs. Plaintiffs are further entitled to an amount up to

three times the amount found as actual damages.

      50.    Further, and upon information and belief, Defendants acted with full

knowledge of Plaintiffs’ longstanding use of, and common law rights to, the Peewee

Trademarks without regard to the likelihood of confusion of the public created by

Defendants’ activities.

      51.    Further, Defendants’ actions are likely to demonstrate an intentional,

willful, and malicious intent to trade on the goodwill associated with Plaintiffs’

trademarks and trade name causing great and irreparable injury to Plaintiffs.

      52.    In the event that Defendants’ actions are proven to be deliberate and

malicious, Plaintiffs will be entitled to punitive damages. Defendants’ unlawful acts

create “an exceptional case,” thereby subjecting Defendants to treble damages,

reasonable attorney fees, costs, and expenses pursuant to §35(a) of the Lanham Act,

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15 U.S.C. § 1117(a).

                  COUNT II – FALSE DESIGNATION OF ORIGIN
                               15 U.S.C. § 1125(a)

         53.   Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

         54.   Defendants’ confusingly similar use of the Peewee Trademarks creates

a false designation of origin and false representation of Defendants’ goods and

services, all in violation of § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

         55.   The threat of the loss of Plaintiffs’ right to control the use of their marks

and the reputation of their goods and services is real and substantial. This loss is

further enhanced by the inferior quality of Defendants’ restaurant services and food

served therein.

         56.   Defendants’ acts described herein infringe Plaintiffs’ mark, will injure

Plaintiffs’ business, reputation, and goodwill, and unless restrained and enjoined will

continue to do so, all to Plaintiffs’ monetary damage and irreparable harm.

               COUNT III – LIABILITY FOR ACTS CAUSING DAMAGES
                                LA. CIV. CODE 2315

         57.   Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

         58.   Defendants are liable for damages under Louisiana Civil Code Article

2315 for damages caused by the above-described wrongful acts, as set forth in detail

above.




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               COUNT IV – LOUISIANA UNFAIR TRADE PRACTICES
                               LA. R.S. 51:1409

      59.    Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

      60.    The above-described wrongful acts constitute unfair or deceptive acts or

practices, in violation of La. R.S. 51:1409, et seq., and entitle Plaintiffs to recover

actual damages.

      61.    In the event that Plaintiffs show that Defendants’ actions were done

knowingly, after being put on notice by the attorney general, Plaintiffs will be entitled

to three times the damages sustained and attorneys’ fees.

     COUNT V –TEXAS DECEPTIVE TRADE PRACTICES-CONSUMER
                    PROTECTION ACT (DTPA)
               TEX. BUS. & COM. CODE § 17.42, et seq.

      62.    Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

      63.    The above-described wrongful acts constitute unfair or deceptive acts or

practices, in violation of Tex. Bus. & Com. Code § 17.42, et seq., and entitle Plaintiffs

to recover actual damages.

      64.    In the event that Plaintiffs shows that Defendants’ actions were done

knowingly, Plaintiffs will be entitled to three times the damages sustained and

attorneys’ fees.

              COUNT VI – LOUISIANA TRADEMARK INFRINGEMENT
                            LA. REV. STAT. §51:222

      65.    Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

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      66.    The above-described wrongful acts constitute infringement of Plaintiffs’

trademark under Louisiana Trademark law, La. Rev. Stat. §51:222.

             COUNT VII - LOUISIANA TRADEMARK DILUTION
                         LA. REV. STAT. § 51:222.1

      67.    Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

      68.    The above-described wrongful acts constitute dilution (or dilution by

blurring) of the Peewee Trademarks and injury to Plaintiffs’ business reputation

(dilution by tarnishment) under Louisiana Trademark law, La. Rev. Stat. §§ 51:222.1.

                      COUNT VIII - BREACH OF CONTRACT
                       & QUASI-CONTRACTUAL CLAIMS
                      LA. CIV. CODE ART. 1967, 1995, & 2298

      69.    Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

      70.    The above-described wrongful acts constitute breach of contract under

Louisiana law for which Plaintiffs are entitled to recover damages pursuant to

Louisiana Civil Code Article 1995, including recovery of the $45,000 Plaintiffs

advanced to establish the franchise.

      71.    Additionally, the above-described wrongful acts constitute the quasi-

contractual claims of detrimental reliance and quantum meruit under Louisiana law

for which Plaintiffs are entitled to recover damages pursuant to Louisiana Civil Code

Article 1967 and 2298.

                    COUNT IX-BREACH OF FIDUCIARY DUTY

      72.    As an authorized agent of Plaintiffs when establishing The LLC,


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Defendant Aneka Armstrong owed Plaintiffs a fiduciary duty according to La. Civ.

C. art. 2989 et seq including a prohibition against self-dealing.

      73.    Defendant breached such duty by clandestinely adding herself as a

member, a manager, and a registered agent to the LLC without authority.

      74.    Accordingly, she is liable for all damages and costs caused by the

breach under La. Civ. C. art 2989 et seq.

        COUNT IX - CANCELLATION OF TRADEMARK REGISTRATION
                       15 U.S.C. § 1064 AND § 1119

      75.    Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

      76.    Defendant Aneka filed U.S. trademark application no. 97262326 with

the USPTO for the mark “PEEWEES CRABCAKES ON-THE-GO” knowing that

Plaintiffs had previously used the identical mark well before Defendants.

      77.    When filing the application, Aneka signed a sworn declaration that “To

the best of the signatory's knowledge and belief, no other persons, except, if

applicable, concurrent users, have the right to use the mark in commerce, either in

the identical form or in such near resemblance as to be likely, when used on or in

connection with the goods/services of such other persons, to cause confusion or

mistake, or to deceive.”

      78.    Defendants signed and submitted the false declaration despite “being

warned that willful false statements and the like are punishable by fine or

imprisonment, or both, under 18 U.S.C. § 1001, and that such willful false statements

and the like may jeopardize the validity of the application or submission or any


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registration resulting therefrom, declares that all statements made of his/her own

knowledge are true and all statements made on information and belief are believed

to be true.”

       79.      Aneka signed and submitted the false declaration knowing that

Plaintiffs had previously and exclusively used the identical mark at least three years

prior to her alleged and infringing use.

       80.      Moreover, Aneka asserted in the declaration that she first used the

mark as early as December 1, 2018, which is demonstrably false as described above.

       81.      Submitting the foregoing false statements constitutes fraud upon the

USPTO, subjecting any registration issuing on the application to cancellation.

       82.      Irrespective of Defendants’ fraudulent procurement of a trademark

registration, Plaintiffs’ prior use of the identical mark constitutes valid grounds to

cancel any registration that issues on the application.

       83.      Therefore, any registration issuing on application no. 97262326 should

be cancelled.

  COUNT X - LIABILITY FOR FALSE OR FRAUDULENT REGISTRATION
                          15 U.S.C. § 1120

       84.      Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

       85.      As set forth above, Defendant Aneka knowingly filed materially false

statements in connection with her trademark application. Consequently, federal

trademark serial no. 97262326, and its ensuing registration, is invalid and

unenforceable.


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      86.    Under 15 U.S.C. § 1120, Defendant Aneka is liable for damages that

Plaintiffs have incurred stemming directly from the acquisition of a trademark

registration by false or fraudulent representations by Aneka.

                         COUNT XI - CYBERSQUATTING
                              15 U.S.C. § 1125(d)

      87.    Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

      88.    The Peewee Trademarks are inherently distinctive and have acquired

secondary meaning in the marketplace. These marks are widely recognized by the

relevant consuming public as a symbol of the quality and goodwill associated with

Plaintiffs’ goods and services.

      89.    Defendants have, without authorization or consent from Plaintiffs,

registered the Infringing Website, https://www.peeweescrabcakesoftexas.com/, which

is confusingly similar to the Peewee Trademarks.

      90.    Defendants registered the Infringing Domain Name with the bad faith

intent to profit from Plaintiffs’ trademarks and goodwill by causing confusion and

mistake among consumers as to the source, sponsorship, affiliation, or endorsement

of the website associated with the Infringing Website.

      91.    Defendants’ registration and use of the Infringing Website constitutes

cybersquatting in violation of the Anticybersquatting Consumer Protection Act

(“ACPA”), 15 U.S.C. § 1125(d).

      92.    As a direct and proximate result of Defendants’ cybersquatting,

Plaintiffs have suffered and continue to suffer damages, including but not limited to


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actual damages, lost profits, and harm to their goodwill and reputation.

                                COUNT XII – FRAUD
                           LA. CIV. CODE ART. 1953, et seq.

      93.      Plaintiffs incorporate herein by reference each and every averment

contained in the foregoing paragraphs as if fully set forth herein.

      94.      The foregoing acts, including false representations to Plaintiffs

concerning Defendants’ intent on establishing an authorized franchise in Texas,

constitute civil fraud.

      95.      As direct consequences of the actions of Defendants, including

fraudulent representations made with the intention to obtain an unjust advantage

for Defendants and loss to Plaintiffs, Plaintiffs have suffered damages including past,

present and future economic loss and loss of income.

                                     JURY DEMAND

      96.      Plaintiffs hereby demand a trial by jury according to Fed. Rule Civ. Pro. 38.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

      a. For entry of a preliminary and permanent injunction immediately and

            without bond enjoining Defendants from any use or display of Plaintiffs’

            PeeWee Trademarks, or any variant thereof;

      b. For entry of judgment against Defendants for all damages to which

            Plaintiffs may be entitled, including Defendants’ profits and for damages in

            an amount as may be proven at trial, together with any applicable statutory

            damage enhancements, including treble damages;


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 c. For entry of judgment against Defendants assigning the Infringing Website

    over to Plaintiffs;

 d. For prejudgment and post-judgment interest according to law;

 e. For Plaintiffs’ attorneys’ fees, and full costs and disbursements in this

    action;

 f. For cancellation of any registration resulting from U.S. Trademark

    Application no. 97262326 currently pending before the U.S.P.T.O.; and

 g. For such other and relief as the court may find appropriate.

                                 Respectfully Submitted,


                                  /s/ kenneth l tolar
                                 Kenneth L. Tolar (Bar No. 22641)
                                 Brad E. Harrigan (Bar. No. 29592)
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                                 Counsel for Plaintiffs




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                                       VERIFICATION

          Pursuant to 28 U.S.C. §1746, Charles Armstrong declares under penalty

   of perjury as follows:

          1. He is the sole manager and member of Peewee Crab Cakes On The Go

   LLC.

          2. In such capacity, he has authority to make this verification on behalf of

   himself and Plaintiff Peewee Crab Cakes On The Go LLC.

          3. He has read the foregoing Complaint and swears under oath that the facts

   and matters alleged and contained therein are true and correct to the best of his

   knowledge and belief.

          4. He has made this verification either upon his own personal knowledge of

   the facts involved or based upon the books and records customarily kept and

   maintained by Plaintiff.



                                                        dJJ
                                                        Charles Armstrong




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